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 REGINA PATTON, on behalf of herself
 and all others similarly situated,

NEWPORT NEWS SHIPBUILDING EMPLOYEES'
CREDIT UNION, INC. d/b/a BAYPORT CREDIT UNION,




                   MUNRO BYRD, 120 Day Ave., SW, Floor 1, Roanoke, VA 24016




                                                                    Bradley E. Faber
NEWPORT NEWS SHIPBUILDING EMPLOYEES'
CREDIT UNION, INC. d/b/a BAYPORT CREDIT UNION,
